            Case 3:11-cr-00671-BAS Document 23 Filed 05/25/11 PageID.19 Page 1 of 1


                        United States District Cq.tfrt~nt1
                                             SOUTHERN DISTRICT OF CALIFORNIA                                                                  1.:-;;,rtJfC(C[ 51
          UNITED STATES OF AMERICA                                                                                               I r MAY 25 AM 8: 18
                                v.
                         Michael Carey
                                                .                       t71t                                             .. y'                                      O,EJ»tIT'Y
                                                             rll/.~~1 CASE NUMBER:
To:     The United States Marshal
        and any Authorized United States Officer
                                                             ,I f   ~
                                                                               ~
                                                                                                                           llcr0671 WQH



         YOU ARE HEREBY COMMANDED to arrest                                                     Michael Carey (1) aka Garrocha
                                                                               Name

 and bring him or her forthwith to the nearest magistrate to answer a(n)

~lndictment         Dlnformation      DComplaint             DOrder of Court             DViolation Notice                        D Probation Violation Petition
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charging him or her with    (brief description of offense)
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                                                                                                                                             ..."              v
In violation of Title


 W. Samuel Hamrick, Jr.                                                            Clerk of the Court
 Name of Issuing Officer                                                           Title of Issuing Officer

 J. Dorocak                                                                        02/23/2011 San Diego
                                                                                   Date and Location


 Bai I fixed at $                        No Bail                                   by                 The Honorable Bernard G. Skomal
                    -----------------------------                                                                  Name of Judicial Officer

                                                                           RETURN

 This warrant was received and executed with the arrest of the above-named defendant at



 DA TE RECEIVED               NAME AND TITLE OF ARRESTING OFFICER                                       SIGNATURE OF ARRESTING OFFICER


 DATE OF ARREST


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